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                                           EXHIBIT C

                                       Cash Contributions

         On each date specified in the table below (column (a)), the Reorganized Debtor shall
 deliver, or cause to be delivered, to the Talc Personal Injury Governmental Action Claims Sub-
 Trust and the Talc Personal Injury Tort Claims Sub-Trust contributions of Cash in the total amount
 set forth opposite such date (column (d)), with such total amount of Cash contributions to be
 allocated between the Talc Personal Injury Governmental Action Claims Sub-Trust and the Talc
 Personal Injury Tort Claims Sub-Trust as set forth opposite such date (column (b) and column (c),
 respectively).

                         Cash Contribution to                                 Total Amount of
                         Talc Personal Injury     Cash Contribution to       Cash Contributions
                         Governmental Action      Talc Personal Injury       to be Delivered by
 Delivery Date for             Claims                 Tort Claims             the Reorganized
 Cash Contribution            Sub-Trust                Sub-Trust                   Debtor
        (a)                       (b)                      (c)                       (d)
Effective Date              $400,000,000.00        $2,600,000,000.00, as    $3,000,000,000.00, as
                                                        adjusted*                 adjusted*
1st Anniversary of                                    $2,500,000,000.00       $2,500,000,000.00
                                   —
Effective Date
2nd Anniversary of                                    $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
7th Anniversary of                                    $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
12th Anniversary of                                   $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
17th Anniversary of                                   $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
22nd Anniversary of                                   $1,000,000,000.00       $1,000,000,000.00
                                   —
Effective Date
25th Anniversary of                                   $1,180,000,000.00       $1,180,000,000.00
                                   —
Effective Date
                                                  TOTAL                     $11,680,000,000.00,
                                                                            as adjusted above

 * The $2,600,000,000.00 to be delivered to the Talc Personal Injury Tort Sub-Trust on the
   Effective Date is subject to adjustment as follows:

    (a) commencing on the first Business Day after the Confirmation Date, interest shall accrue
        on such amount at the rate of 4% per annum, with interest to be calculated on the basis of
        a 365/366-day year and paid for the actual number of days elapsed; and

    (b) the such amount shall be reduced by the amount of Talc Personal Injury Trust Expenses
        paid by the Reorganized Debtor pursuant to Section 4.6.

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